                                                           Case 2:19-cr-00898-DLR Document 287 Filed 12/21/21 Page 1 of 3




                                                  1 ASHLEY D. ADAMS, PLC
                                                    Ashley D. Adams, 013732
                                                  2 7502 E. Monterey Way
                                                    Scottsdale AZ 85251
                                                  3 Phone:        (480) 219-1366
                                                    Facsimile: (480) 219-1451
                                                  4 aadams@azwhitecollarcrime.com
                                                    Attorney for Defendant
                                                  5

                                                  6                       IN THE UNITED STATES DISTRICT COURT

                                                  7                               FOR THE DISTRICT OF ARIZONA

                                                  8
                                                      United States of America,                     Case No. CR-19-00898-PHX-DLR (DMF)
                                                  9                                   Plaintiff,
ADAMS & ASSOCATES, PLC




                                                                                                    EXPEDITED MOTION TO
                                                 10 vs.                                             CONTINUE REVOCATION
                         7502 E. Monterey Way
                          Scottsdale, AZ 85251




                                                                                                    HEARING SCHEDULED FOR
                            (480) 219-1366




                                                 11 David Allen Harbour,                            TUESDAY, DECEMBER 21 AT 2:30
                                                                                                    P.M.
                                                                                       Defendant.
                                                 12

                                                 13

                                                 14
                                                            Defendant David Allen Harbour, by and through undersigned counsel, hereby files his
                                                 15
                                                      expedited motion requesting that that the Court continue the Revocation hearing currently
                                                 16
                                                      scheduled for Tuesday, December 21 at 2:30 p.m. (today) in front of Judge Fine.
                                                 17
                                                            The government provided counsel for Defendant with Discovery/Disclosure 12 at
                                                 18
                                                      approximately 6:49 p.m. on Monday, December 20, 2021. Counsel was unable to access it
                                                 19
                                                      until this morning, because the government sent it to her assistant’s USAfx account, and not
                                                 20

                                                 21

                                                 22

                                                 23
                                                            Case 2:19-cr-00898-DLR Document 287 Filed 12/21/21 Page 2 of 3




                                                   1 counsel’s. All of the discovery is related to the issues surrounding Mr. Harbour’s potential

                                                   2 revocation.

                                                   3         The discovery consists of 167,007 KB of information. Some of the discovery includes

                                                   4 Pen Register Trap and Trace Records from Verizon from Mr. Harbour’s phone, which will

                                                   5 take some time to digest. Counsel for Defendant, who is relatively new to the case, and

                                                   6 certainly has not mastered the facts, needs the additional time to review the discovery herself,

                                                   7 and review the discovery with Mr. Harbour, who is in custody at CCA. The government has

                                                   8 also advised that it intends to file a supplemental Petition. Mr. Harbour is currently in

                                                   9 quarantine at CCA. As such, Defendant would request a 7-10 day extension of time.
ADAMS & ASSOCIATES, PLC




                                                  10 Undersigned has consulted with counsel for the government, who has advised they have no
                          7502 E. Monterey Way
                           Scottsdale, AZ 85251
                             (480) 219-1366




                                                  11 objection.

                                                  12         RESPECTFULLY SUBMITTED this 21st day of December, 2021.

                                                  13
                                                                                         ADAMS & ASSOCIATES, PLC
                                                  14
                                                                                         By: /s/ Ashley Adams
                                                  15                                         Ashley D. Adams
                                                                                            Attorneys for Defendant
                                                  16

                                                  17

                                                  18

                                                  19

                                                  20

                                                  21

                                                  22

                                                  23
                                                                                                    2
                                                  24
                                                            Case 2:19-cr-00898-DLR Document 287 Filed 12/21/21 Page 3 of 3




                                                   1
                                                                                  CERTIFICATE OF SERVICE
                                                   2         I hereby certify that on December 21, 2021, I electronically transmitted the attached

                                                   3 document to the Clerk’s Office using the CM/ECF system for filing.

                                                   4 Kevin M. Rapp
                                                     Coleen Schoch
                                                   5 U.S. Attorney’s Office
                                                     40 N. Central Ave., Suite 1800
                                                   6 Phoenix, AZ 85004
                                                     Attorneys for Plaintiff
                                                   7

                                                   8
                                                       /s/Kathy Tayor
                                                   9
                                                       Paralegal to Ashley D. Adams
ADAMS & ASSOCIATES, PLC




                                                  10
                          7502 E. Monterey Way
                           Scottsdale, AZ 85251
                             (480) 219-1366




                                                  11

                                                  12

                                                  13

                                                  14

                                                  15

                                                  16

                                                  17

                                                  18

                                                  19

                                                  20

                                                  21

                                                  22

                                                  23
                                                                                                  3
                                                  24
